                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE

  LASHONDA HALL,                                )
                                                )
                Petitioner,                     )
                                                )
  v.                                            )      Nos.: 3:07-CR-51-TAV-HBG
                                                )            3:14-CV-607-TAV
  UNITED STATES OF AMERICA,                     )
                                                )
                Respondent.                     )


                                 MEMORANDUM OPINION

         Petitioner, LaShonda Hall (“Hall”), was tried before a jury and convicted of several

  counts of drug trafficking, firearms offenses, and money laundering. She was sentenced

  to a prison term of 548 months [Doc. 701]. On appeal, Hall’s convictions and sentence

  were affirmed. The decision of the Court of Appeals was filed on February 25, 2013 [Doc.

  729] and the mandate issued on March 21, 2013 [Doc. 733].

         Before the Court now is Petitioner’s pro se motion to vacate, set aside, or correct

  her sentence pursuant to 28 U.S.C. § 2255 [Doc. 771]. This motion was filed on November

  17, 2014, and therefore, it is untimely. Hall later filed a “supplement” to the § 2255 Motion

  [Doc. 788]. The Government filed a response in opposition [Doc. 790], asserting that

  Petitioner’s § 2255 Motion and supplement are untimely and must be denied on that basis.

         While the § 2255 Motion remained pending, Hall moved to amend it to contest her

  guideline range in light of Johnson v. United States, 135 S. Ct. 2551 (2015), which

  invalidated the Armed Career Criminal Act’s residual clause as unconstitutionally vague

  [Docs. 823, 828]. The Government responded in opposition, arguing that Hall was



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  ineligible for relief under Johnson because the Supreme Court had expressly limited its

  holding in that case to the Armed Career Criminal Act, and further, that Johnson has no

  bearing on the designation of drug convictions as qualifying predicates [Doc. 830].

         The Supreme Court has now held that the advisory Sentencing Guidelines are not

  subject to vagueness challenges and that U.S.S.G. § 4B1.2’s residual clause is not void for

  vagueness. Beckles v. United States, 137 S. Ct. 886 (2017). Accordingly, Petitioner’s

  Johnson-based claim cannot justify relief and must be denied on the merits.

         To obtain relief pursuant to 28 U.S.C. § 2255, a petitioner must demonstrate “(1) an

  error of constitutional magnitude; (2) a sentence imposed outside the statutory limits; or

  (3) an error of fact or law that was so fundamental as to render the entire proceeding

  invalid.” Short v. United States, 471 F.3d 686, 691 (6th Cir. 2006) (quoting Mallett v.

  United States, 334 F.3d 491, 496–97 (6th Cir. 2003)). She “must clear a significantly

  higher hurdle than would exist on direct appeal” and establish a “fundamental defect in the

  proceedings which necessarily results in a complete miscarriage of justice or an egregious

  error violative of due process.” Fair v. United States, 157 F.3d 427, 430 (6th Cir. 1998).

         A one-year period of limitation applies to § 2255 motions, and that period runs from

  the date on which the judgment of conviction becomes final. 28 U.S.C. § 2255(f)(1); see

  Dodd v. United States, 545 U.S. 353, 357 (2005) (“In most cases, the operative date from

  which the limitation period is measured [is] the date on which the judgment of conviction

  becomes final.” (internal citation omitted)). In the present case, Petitioner’s conviction

  became final on May 27, 2013, because she did not seek certiorari. Clay v. United States,

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  537 U.S. 522, 525 (2003). Petitioner had until May 27, 2014, to file a timely § 2255

  motion, but she did not file until November 2014. Accordingly, her motion is untimely.

  See Rule 3(d), Rules Governing Section 2255 Proceedings (providing that the filing date

  for a pleading from an incarcerated defendant is the date the pleading was placed into the

  prison mail system).

         The one-year statute of limitations for § 2255 motions is not a jurisdictional bar and

  may be tolled under limited, extraordinary circumstances. The Court agrees with the

  Government that the petitioner has not established any basis for equitable tolling to be

  granted. Dunlap v. United States, 250 F.3d 1001, 1007 (6th Cir. 2001). Equitable tolling

  is “used sparingly by federal courts,” and “[t]ypically . . . applies only when a litigant’s

  failure to meet a legally-mandated deadline unavoidably arose from circumstances beyond

  that litigant’s control.” Jurado v. Burt, 337 F.3d 638, 642 (6th Cir. 2003). A petitioner

  bears the burden of establishing that equitable tolling applies to her case. Allen v. Yukins,

  366 F.3d 396, 401 (6th Cir. 2004). To satisfy that burden, she must show “(1) that she has

  been pursuing her rights diligently, and (2) that some extraordinary circumstance stood in

  her way and prevented timely filing.” Holland v. Florida, 560 U.S. 631, 649 (2010);

  accord Hall v. Warden, 662 F.3d 745, 750 (6th Cir. 2011). The Court finds that the

  Petitioner has made no such showing.

         In sum, the Court finds that because the claims presented in the Motion [Docs. 771,

  788, 823] are untimely and therefore lack merit, Petitioner is not entitled to relief pursuant

  to 28 U.S.C. § 2255. Moreover, the Petitioner’s Johnson-based claim is without merit, as

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  explained above, and must be dismissed.           A hearing is unnecessary in this case.

  Accordingly, the Court will DENY Petitioner’s motion [Doc. 771] and supplements [Docs.

  788, 823].

         In addition, the Court will CERTIFY that any appeal from this action would not be

  taken in good faith and would be totally frivolous. Therefore, this Court will DENY

  Petitioner leave to proceed in forma pauperis on appeal. See Fed. R. App. P. 24. Petitioner

  has failed to make a substantial showing of the denial of a constitutional right, therefore, a

  certificate of appealability SHALL NOT ISSUE. 28 U.S.C. § 2253; Fed. R. App. P. 22(b).

         ORDER ACCORDINGLY.


                                      s/ Thomas A. Varlan
                                      CHIEF UNITED STATES DISTRICT JUDGE




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